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                        U N IT E D S T A T E S D IS T R IC T C O U R T
                        F O R T H E D IS T R IC T O F C O LU M B IA

 ADVANCEMENT PROJECT,
                       Plaintiff,
               v.                                       Civil Action No. 19-0052-RC
 UNITED STATES DEPARTMENT
 OF HOMELAND SECURITY, et al.,
                       Defendants.


                              NOTICE OF APPEARANCE

       The Clerk of Court will please enter the appearance of Assistant United States Attorney

Johnny Walker as counsel for Defendants the United States Department of Homeland Security, the

United States Immigration and Customs Enforcement, the United States Citizenship and

Immigration Services, and the United States Department of State.


 Dated: January 26, 2019                     Respectfully submitted,
                                               /s/ Johnny Walker
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